                      Case 1-22-41835-jmm                  Doc 6-2         Filed 08/01/22             Entered 08/01/22 12:20:17


Information to identify the case:

Debtor 1:
                        Teresita Ortiz                                                     Social Security number or ITIN:     xxx−xx−2222
                                                                                           EIN: _ _−_ _ _ _ _ _ _
                        First Name   Middle Name   Last Name

Debtor 2:                                                                                  Social Security number or ITIN: _ _ _ _
                        First Name   Middle Name   Last Name
(Spouse, if filing)                                                                        EIN: _ _−_ _ _ _ _ _ _
United States Bankruptcy Court:          Eastern District of New York                       Date case filed for chapter:             7   7/29/22

Case number:             1−22−41835−jmm

Official Form 309A (For Individuals or Joint Debtors)
Notice of Chapter 7 Bankruptcy Case                                                                                                          Revised: 12/17


For the debtor(s) listed above, a case has been filed under Chapter 7 of the Bankruptcy Code. An order for relief has been entered. This notice
has important information about the case for creditors, debtors, and trustees, including information about the meeting of creditors and
deadlines. Read both pages carefully.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification Numbers, which may
appear on a version of this notice. However, the full numbers must not appear on any document filed with the court. Do not include more than
the last four digits of a Social Security or Individual Taxpayer Identification Number in any document, including attachments, that you file with
the court.

                              About Debtor 1:                                                         About Debtor 2:
1.Debtor's Full Name          Teresita Ortiz
2.All other names used in the
  last 8 years
3.Address                     2816 30th Street, Unit 2B
                                            Astoria, NY 11102
4.Debtor's Attorney                         Norma E Ortiz                                             Contact Phone 718−522−1117
                                            Ortiz & Ortiz, LLP                                        Email: email@ortizandortiz.com
  Name and address                          287 Park Avenue South
                                            Suite 213
                                            New York, NY 10010
5.Bankruptcy Trustee                        Gregory Messer                                            Contact Phone (718) 858−1474
                                            Law Offices of Gregory Messer, PLLC                       Email: gremesser@aol.com
  Name and address                          26 Court Street
                                            Suite 2400
                                            Brooklyn, NY 11242
6.Meeting of Creditors                      September 6, 2022 at 09:00 AM                             Location:
                                                                                                      DUE TO COVID−19, THE MEETING OF
                                                                                                      CREDITORS WILL BE HELD
                                                                                                      TELEPHONICALLY. PLEASE REFER TO
                                                                                                      THE CASE DOCKET OR CONTACT THE
                                                                                                      TRUSTEE LISTED IN THIS NOTICE FOR
                                                                                                      INSTRUCTIONS.
7.Deadlines                            Deadline to Object to Discharge or to Challenge                Filing Deadline:     11/7/22
                                       Whether Certain Debts are Dischargeable:
  The Bankruptcy Clerk's Office must You must file a Complaint:
  receive these documents and any      • if you assert that the debtor is not entitled to             You must file a Motion:
  required filing fee by the following   receive a discharge of any debts under any of the            • if you assert that the discharge should be
  deadlines.                             subdivisions of 11 U.S.C. § 727(a)(2) through (7),             denied under § 727(a)(8) or (9).
                                         or
                                       • if you want to have a debt excepted from discharge
                                         under 11 U.S.C § 523(a)(2), (4), or (6).

                                            Deadline to Object to Exemptions:                         Filing Deadline: 30 days after the conclusion
                                            The law permits debtors to keep certain property as       of the meeting of creditors
                                            exempt. If you believe that the law does not authorize
                                            an exemption claimed, you may file an objection.


8.Presumption of Abuse                      If the presumption of abuse arises, you may have the right to file a motion to dismiss the case under 11
                                            U.S.C. § 707(b). Debtors may rebut the presumption by showing special circumstances.
                                            The presumption of abuse does not arise.
9.Bankruptcy Clerk's Office                 Address of the Bankruptcy Clerk's Office:                 Hours Open:
                                            271−C Cadman Plaza East, Suite 1595                       Monday − Friday 9:00 AM − 4:30 PM
                                            Brooklyn, NY 11201−1800
  Documents in this case may be filed
  at this address. You may inspect all Clerk of the Bankruptcy Court:
  records filed in this case at this                                                                  Contact Phone (347) 394−1700
                                       Robert A. Gavin, Jr.
  office or online at                                                                                 Date: 8/1/22
  pacer.uscourts.gov.
                                                                                                                            For more information, see page 2 >
Official Form 309A (For Individuals or Joint Debtors) Notice of Chapter 7 Bankruptcy Case                                                               page 1
              Case 1-22-41835-jmm                   Doc 6-2         Filed 08/01/22          Entered 08/01/22 12:20:17


Debtor Teresita Ortiz                                                                                 Case number 1−22−41835−jmm
10. Legal Advice                        The staff of the Bankruptcy Clerk's Office cannot give legal advice. To protect your rights,
                                        consult an attorney.

11. Creditors May Not Take              The filing of the case imposed an automatic stay against most collection activities. This
    Certain Actions                     means that creditors generally may not take action to collect debts from the debtors or the
                                        debtors' property. For example, while the stay is in effect, creditors cannot sue, garnish
                                        wages, assert a deficiency, repossess property, or otherwise try to collect from the debtors.
                                        Creditors cannot demand repayment from debtors by mail, phone, or otherwise. Creditors
                                        who violate the stay can be required to pay actual and punitive damages and attorney's fees.
                                        Under certain circumstances, the stay may be limited to 30 days or not exist at all, although
                                        debtors can ask the court to extend or impose a stay.

12. Meeting of Creditors                A meeting of creditors is scheduled for the date, time and location listed on the front side.
                                        Debtors must attend the meeting to be questioned under oath by the trustee and by creditors.
                                        In a joint case, both spouses must attend. Creditors may attend, but are not required to do
                                        so. The meeting may be continued and concluded at a later date specified in a notice filed
                                        with the court.

13. Proof of Claim                      Deadline for holder(s) of a claim secured by a security interest in the debtor(s)' principal
                                        residence (Rule 3002(c)(7)(A)):        Filing Deadline: 10/07/2022
                                        No property appears to be available to pay creditors. Therefore, other than claims secured by
                                        a security interest in the debtor(s)' principal residence, please do not file a proof of claim now.
                                        If it later appears that assets are available to pay creditors, the Clerk will send you another
                                        notice telling you that you may file a proof of claim and stating the deadline.
                                        Do not include this notice with any filing you make with the court.

14. Discharge of Debts                  The debtors are seeking a discharge. Creditors who assert that the debtors are not entitled to
                                        a discharge of any debts or who want to have a particular debt excepted from discharge may
                                        be required to file a complaint in the Bankruptcy Clerk's Office within the deadlines specified
                                        in this notice. (See line 7 for more information.)

15. Exempt Property                     The law allows debtors to keep certain property as exempt. Fully exempt property will not be
                                        sold and distributed to creditors. Debtors must file a list of property claimed as exempt. You
                                        may inspect that list at the Bankruptcy Clerk's Office or online at pacer.uscourts.gov. If you
                                        believe that the law does not authorize an exemption that the debtors claim, you may file an
                                        objection. The Bankruptcy Clerk's Office must receive the objection by the deadline to object
                                        to exemptions in line 7.

16. Creditors with a Foreign            If you are a creditor receiving a notice mailed to a foreign address, you may file a motion
    Address                             asking the court to extend the deadlines in this notice. Consult an attorney familiar with
                                        United States bankruptcy law if you have any questions about your rights in this case.

17. Option to Receive Notices           1) The Electronic Bankruptcy Noticing (EBN) Program is open to all parties. You can register
    Served by the Clerk by              for EBN at the BNC website https://bankruptcynotices.uscourts.gov/register, or
    Email Instead of by U.S.            2) Debtors can register for DeBN by filing local form "Debtor's Electronic Bankruptcy Notice
    Mail                                Request" with the Clerk of Court. Both options are FREE and allow the Clerk to quickly
                                        send you court−issued notices and orders by email.

18. Undeliverable Notices               Undeliverable notices will be sent by return mail to the debtor. It is the debtor's responsibility
                                        to obtain the parties correct address, resend the returned notice, and notify this office of the
                                        parties change of address. Failure to provide all parties with a copy of the notice may
                                        adversely affect the debtor as provided by the Bankruptcy Court.

19. Form 121 Statement of               The debtor or debtor's attorney is required to bring a paper copy of the petition with full social
    Social Security #                   security number displayed to the first meeting of creditors.

20. Personal Financial                  In order to receive a discharge, the debtor must complete a Personal Financial Management
    Management Course                   Course and must file a Certification About a Financial Management Course (Official Form
                                        423) within 60 days after the first date set for the section 341 meeting. If the Certification
                                        About a Financial Management Course is not filed within the allotted time, a discharge will
                                        not be issued and the case will be closed.


Official Form 309A (For Individuals or Joint Debtors) Notice of Chapter 7 Bankruptcy Case                                              page 2
